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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN

ANTHONY DAUNT,
                                    Plaintiff,   Case No. 1:20-cv-00522-RJJ-RSK

v.                                               JOINT STATUS REPORT

JOCELYN BENSON, in her official
capacity as Michigan Secretary of State, et
al.,
                                Defendants.

        A Rule 16 Scheduling Conference is scheduled for October 27, 2020 at 4:00 p.m.,

before the Hon. Robert. J. Jonker. Appearing for the parties as counsel will be:

        For Plaintiff: Cameron T. Norris

        For Defendants: Elizabeth R. Husa Briggs

        For Intervenors: Emily Brailey (for Rise & A. Philip Randolph Institute); George

B. Donnini (for League of Women Voters)

        All parties respectfully ask for the conference to be held remotely. Plaintiff

believes the scheduling conference should occur as scheduled. Defendants and the

LWV Intervenors believe the scheduling conference should be adjourned until after the

Court decides the pending motions to dismiss. The APRI/Rise Intervenors stand ready

to appear at a scheduling conference if scheduled by the Court.

     1. Jurisdiction:

     Plaintiff: The Court has subject-matter jurisdiction because this case alleges

violations of the NVRA. 28 U.S.C. §1331.
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   Defendants: As explained in Defendants’ Motion to Dismiss Plaintiff’s Amended

Complaint, filed on October 14, 2020 (Doc. 37), and in the Brief filed in support thereof

(Doc. 38), the allegations in Plaintiff’s amended complaint -- even if true – fail to

demonstrate that Plaintiff has standing to invoke this Court’s Article III jurisdiction.

Defendants maintain that this case should be dismissed pursuant to Fed. R. Civ. P.

12(b)(1) due to lack of standing, and also under Fed. R. Civ. P. 12(b)(6) for failure to

state a cognizable claim for relief on the basis of alleged vote dissolution.

   Rise and APRI Intervenor-Defendants: Rise and APRI Intervenors agree with

Defendants’ statement of the jurisdiction of this matter.

   2. Jury or Non-Jury: This case is to be tried before the court as trier of law and

fact.

   3. Judicial Availability: The parties do not agree to have a United State Magistrate

Judge conduct any and all further proceedings in the case, including trial, and to order

the entry of final judgment.

   4. Statement of the Case:

   Plaintiff: Congress enacted the NVRA “to protect the integrity of the electoral

process.” 52 U.S.C. §20501(b)(3). Section 8 obligates States to “conduct a general

program that makes a reasonable effort to remove the names of ineligible voters from

the official lists of eligible voters” due to death or change of residence. 52 U.S.C.

§20507(a)(4). Plaintiff alleges that Michigan, under Defendants’ leadership, is falling

short of its federally mandated duty to maintain accurate voter rolls.
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   Defendants: This case should be dismissed as a matter of law. The reasons for

this are detailed in Defendants’ October 14, 2020 Motion to Dismiss (Doc. 37) and

supporting Brief (Doc. 38). In brief, Plaintiff’s February 26, 2020 Letter is not sufficient

to satisfy the NVRA’s requirements for a private cause of action to enforce this law.

Moreover, the allegations in the complaint, even as amended, are insufficient to

demonstrate Plaintiff has standing to invoke this Court’s Article III jurisdiction. The

allegations in the complaint, as amended, do not demonstrate a direct and palpable

injury-in-fact fairly traceable to either Defendant’s conduct, or which could be redressed

by a favorable decision from this Court. For this reason, Defendants maintain that

dismissal is necessary under Fed. R. Civ. P. 12(b)(1). In addition, Defendants maintain

that dismissal is necessary under Fed. R. Civ. P. 12(b)(6) because the allegations in the

complaint are insufficient to seek relief based on the theory of vote dilution, as Plaintiff

claims. Discovery efforts should be stayed until a decision is rendered on the pending

motions to dismiss, as a ruling in Defendants’ favor will result in dismissal of this case

in its entirety.

       With respect to the merits, Michigan law and policy complies with the NVRA’s

requirement that the State have a general program for maintaining the qualified voter

files and carrying out list maintenance responsibilities related to the same.          The

allegations in Plaintiff’s complaint, as amended, even if true do not identify any policy,

procedure or practice carried out in Michigan which violates this federal law. Plaintiff

relies largely on allegedly high percentages of registered voters, and returned absentee
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ballot applications. Neither is sufficient to demonstrate a violation of the NVRA as

Plaintiff claims.

   Rise and APRI Intervenor-Defendants: As Intervenors detailed in their motion

to dismiss (Doc. 34), this case should be dismissed as a matter of law for numerous

reasons. First, Plaintiff can meet none of the three requirements for Article III standing

as he can show neither a concrete, non-speculative injury, nor traceability, nor

redressability. This requires dismissal under Fed R. Civ. P. 12(b)(1). Moreover, even if

the vote dilution he complaints of were an Article III injury, his complaint fails to state

a claim for which relief can be granted. This requires dismissal of his complaint under

Fed. R. Civ. P. 12(b)(6). Intervenors agree with Defendants that discovery should be

stayed until a decision is rendered on the pending motions to dismiss because these

motions have the potential to result in dismissal of this case in its entirety.

   League of Women Voters Intervenor-Defendants: Plaintiff Anthony Daunt

relies on faulty data analysis to claim that Defendants are in violation of Section 8 of

the NVRA, based on allegations that certain counties in Michigan have high voter

registration rates and on unfounded concerns of potential voter fraud. Plaintiff ignores

that the foremost statutory purpose of the NVRA, which its text and legislative history

confirm, was to “increase” voter registration and “enhance[]” participation. 52 U.S.C.

§ 20501(b). Instead, Plaintiff distorts the NVRA by focusing exclusively on a single

provision and claiming that Defendants’ purported failure to remove allegedly ineligible

voters threatens the integrity of elections. Plaintiff seeks to rewrite the NVRA’s
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carefully crafted balance between protecting voters from abusive purges and keeping

accurate and current voter rolls by asking this Court to compel more aggressive list

maintenance measures that would threaten to remove qualified voters from the rolls,

and would undermine this voting rights statute’s fundamental objectives.

   5. Joinder of Parties and Amendment of Pleadings: The parties expect to file

all motions for joinder of parties to this action and to file all motions to amend the

pleadings by November 16, 2020.

   6. Disclosures and Exchanges:

   (i)     Fed.R.Civ.P. 26(a)(1) disclosures: The parties propose exchanging initial

           disclosures, if needed, within 30 days of the date either this Court issues its

           order on the pending motions to dismiss or, in the event an appeal is filed by

           any party, within 30 days after the mandate returns with respect to that appeal

           from the Sixth Circuit—whichever is later.

   (ii)    Fed.R.Civ.P. 26(a)(2) disclosures: The parties propose furnishing the names

           of affirmative expert witnesses within the later of 60 days of the date this

           Court issues its order on the pending motions to dismiss or, in the event an

           appeal is filed by any party, within 30 days after the mandate returns with

           respect to that appeal from the Sixth Circuit. The parties propose furnishing

           the names of rebuttal expert witnesses within 30 days thereafter.

   (iii)   Fed.R.Civ.P. 26(a)(3) disclosures: The parties propose exchanging pretrial

           disclosures at least 30 days before the start of trial.
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   (iv)      The parties have agreed to make available the following documents without

             the need of a formal request for production:

             The parties are unable to agree on voluntary production at this time.

   (v)       Initial Disclosure of potential lay witnesses: The parties propose disclosing

             any lay witnesses at least 45 days before the start of trial.

   7. Discovery: The parties believe that if this case proceeds to discovery, all

discovery proceedings can be completed by the latter of: (1) June 1, 2021; (2) six

months after the date on which this Court enters its order on the pending motions to

dismiss; or (3) in the event any party files an appeal of the Court’s order on the pending

motions to dismiss, within sixth months after the mandate returns from the Sixth

Circuit with respect to such appeal. The parties recommend the following discovery

plan, if necessary:

Plaintiff:

          • Each party be limited to depositions of the named parties in the original

             complaint and any proffered experts, each of no more than 7 hours duration,

             and 25 interrogatories;

          • Each party should be limited to 25 requests for admission; and

          • Discovery should not be completed in phases.
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Defendants and Intervenors:

       • Each party be limited to 10 depositions, each of no more than 7 hours

          duration, and 25 interrogatories;

       • Each party should be limited to 25 requests for admission; and

       • Discovery should not be completed in phases.

   8. Motions: The parties anticipate that all dispositive motions, if applicable, will be

filed no later than thirty-days after the close of discovery set forth above. The parties

acknowledge that it is the policy of this Court to prohibit the consideration of non-

dispositive discovery motions unless accompanied by a certification that the moving

party has made a reasonable and good faith effort to reach agreement with opposing

counsel on the matters set forth in the motion.

   9. Alternative Dispute Resolution: The parties recommend that this case be

submitted to the following method(s) of alternative dispute resolution: none.

   10. Length of Trial: Counsel estimate the trial will last approximately 5 days, total,

allocated as follows: 2 days for Plaintiff’s case, 2 days for Defendants’ case, and 1 day

for all Intervenors’ cases.

   11. Prospects of Settlement: Defendants do not believe that Plaintiff has standing

to bring this suit and have filed a motion to dismiss. Accordingly, no settlement is

forthcoming.
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   12. Electronic Document Filing System: Counsel are reminded that Local Civil

Rule 5.7(a) now requires that attorneys file and serve all documents electronically, by

means of the Court’s CM/ECF system, unless the attorney has been specifically

exempted by the Court for cause or a particular document is not eligible for electronic

filing under the rule. The Court expects all counsel to abide by the requirements of this

rule. Pro se parties (litigants representing themselves without the assistance of a lawyer)

must submit their documents to the Clerk on paper, in a form complying with the

requirements of the local rules. Counsel opposing a pro se party must file documents

electronically but serve pro se parties with paper documents in the traditional manner.

   13. Other: None.

Dated: October 20, 2020                   Respectfully submitted,
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* Application for admission pending
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                           CERTIFICATE OF SERVICE
      I filed this joint status report with the Court via ECF, which will notify all counsel

of record.

      Dated: October 20, 2020                     /s/ Cameron T. Norris
                                                 Counsel for Plaintiff
